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UNITED STATES DISTRICT COURT phtecche
FOR THE M20 DEC -2 PM 2:17
DISTRICT OF VERMONT

UNITED STATES OF AMERICA,

Crim. No. Z: 2o<+tr-\OY-|

BRADLEY LEFEBVRE
Defendant.

(18 U.S.C. § 2261A)

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INDICTMENT
COUNT 1

The grand jury charges:

Beginning in approximately March 2020 and continuing until
August 7, 2020, in the District of Vermont, the defendant
BRADLEY LEFEBVRE, with intent to harass and intimidate J.C. Jr.,
used facilities of interstate and foreign commerce to engage in
a course of conduct that caused, attempted to cause and would be
reasonably expected to cause substantial emotional distress to
J.C. Jr., immediate family members of J.C. Jr., and a spouse and
intimate partner of J.C. Jr.

(18 U.S.C. § 2261A(2) (B))
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COUNT 2
Beginning in approximately April 2020 and continuing until
August 7, 2020, in the District of Vermont, the defendant
BRADLEY LEFEBVRE, with intent to harass and intimidate J.C. Sr.,
used facilities of interstate and foreign commerce to engage in
a course of conduct that caused, attempted to cause and would be
reasonably expected to cause substantial emotional distress to
J.C. Sr., immediate family members of J.C. Sr

-, and a spouse and

intimate partner of J.C. Sr.

(18 U.S.C. § 2261A(2) (B))
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COUNT 3

Beginning in approximately April 2020 and continuing until
August 7, 2020, in the District of Vermont, the defendant
BRADLEY LEFEBVRE, with intent to harass and intimidate M.A.,
used facilities of interstate and foreign commerce to engage in
a course of conduct that caused, attempted to cause and would be
reasonably expected to cause substantial emotional distress to
M.A., immediate family members of M.A., and a spouse and

intimate partner of M.A.

(18 U.S.C. § 2261A(2) (B))

A TRUE BILL

 

Chrstina E: Wier

CHRISTINA E. NOLAN (GLW)
United States Attorney

 

Rutland, Vermont
December 2, 2020
